      Case 3:19-cv-04753-FLW-TJB Document 73 Filed 12/23/22 Page 1 of 2 PageID: 2856




                                                 State of New Jersey
PHILIP D. MURPHY                              OFFICE OF THE ATTORNEY GENERAL                                      MATTHEW J. PLATKIN
    Governor                                DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                      DIVISION OF LAW
SHEILA Y. OLIVER                                           PO Box 45029                                           MICHAEL T.G. LONG
   Lt. Governor                                         Newark, NJ 07101                                                Director




                                                  December 23, 2022

       Via CM/ECF
       Hon. Freda L. Wolfson, U.S.D.J.
       United States District Court, District of New Jersey
       Clarkson S. Fisher Building & U.S. Courthouse
       402 East State St.
       Trenton, NJ 08608

                       Re:      Defense Distributed, et al. v. Matthew J. Platkin,
                                Civil Action Nos. 19-4753 & 21-9867 (Consolidated)

       Dear Chief Judge Wolfson,

             The Attorney General writes to request a three-day extension of our
       deadline to file a reply in support of our Motion to Dismiss, which is currently
       December 27, to avoid the need to work through the holiday weekend. We
       advised counsel for Plaintiffs of this request, who stated that Plaintiffs consent
       to adjourning the motion for one cycle. Accordingly, our office respectfully
       requests that the deadline for the Attorney General’s reply brief be extended
       through December 30, 2022.

                  Thank you for Your Honor’s consideration of this request.




                              124 Halsey Street • TELEPHONE: (973) 877-1280 • FAX: (973) 648-4887
                         New Jersey Is An Equal Opportunity Employer • Printed on Recycled Paper and Recyclable
Case 3:19-cv-04753-FLW-TJB Document 73 Filed 12/23/22 Page 2 of 2 PageID: 2857


                                                                       Page 2

                              Respectfully submitted,

                              MATTHEW J. PLATKIN
                              ATTORNEY GENERAL OF NEW JERSEY

                        By:   /s/ Tim Sheehan
                              Tim Sheehan
                              Deputy Attorney General

cc:   All counsel of record (via CM/ECF)
